      Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 1 of 10



                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

SEAN ROBINSON                                               CIVIL ACTION

VERSUS                                                      NO. 18-4733

NOPD SUPERINTENDENT
MICHAEL S. HARRISON, ET. AL.                                SECTION: “B”(1)


                             ORDER AND REASONS

       Before the Court are Defendant Colonel Kevin Reeve’s Motion

to Dismiss (Rec. Doc. 35), Plaintiff Sean Robinson’s Response in

Opposition (Rec. Doc. 41), and Defendant’s Reply (Rec. Doc. 45).

For the reasons discussed below,

       IT IS ORDERED that the motion to dismiss is DENIED.

FACTS AND PROCEDURAL HISTORY

       This is a civil rights case alleging violations of the Fourth

and Fourteenth Amendment. Plaintiff is a 32-year-old resident of

New Orleans, Louisiana. See Rec. Doc. 1 at 3. He was convicted of

sexual battery in 2011 and therefore is required to register as a

sex offender in accordance with state law. See id.1 Defendant is

being sued in his official capacity as Superintendent of the

Louisiana State Police (“LSP”). See Rec. Doc. 35 at 4.

       According to Plaintiff, he has “made bona fide efforts to pay

all   fees   towards    compliance   with   the   Louisiana   sex   offender



1 For the 2011 sexual battery, Plaintiff received a sentence of five years
probation and five years suspended sentence. See Rec. Doc. 34 at 6.
Subsequently, Plaintiff was convicted of Failure to Register in April 2014 and
pled guilty to a second charge of Failure to Register in March 2018. See id.
                                       1
      Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 2 of 10



statute”     but     his    “poverty      prevents       him   from    attaining       full

compliance.” Rec. Doc. 34 at 3. Specifcally, he has paid the annual

registration fee of $60 and newspaper notice fee of $193.50 while

being employed through a temp agency and receiving food stamps.

See id. However, he has not paid the postcard notification fee of

$861.50. See Rec. Doc. 41 at 5. Plaintiff claims that because of

his inability to pay the postcard notification fee, he is under

imminent arrest by the New Orleans Police Department and LSP. See

Rec. Doc. 34 at 3. 2

       On     July        17,     2018,      Plaintiff         filed     an      amended

complaint      alleging         violations       of     the    due    process    clause,

equal    protection        clause, and probable cause requirement. See

id.     at   17.     He    also   alleges        that    his    harm    can     only    be

alleviated by injunctive relief. See id. at 17-18.3 Thereafter,

Defendant filed the instant motion to dismiss. See Rec. Doc. 35.

Plaintiff responded. See Rec. Doc. 41. Defendant replied. See

Rec. Doc. 34 at 45.4




2 In addition to paying majority of the fees, Plaintiff has also consistently
reported to NOPD as required, found housing, registered his address, submitted
his landlord verification, and requested addition time pay due fees. See Rec.
Doc. 41 at 5.
3 Plaintiff states that “this lawsuit does not prevent the State from charging

him with a crime, issuing a bill of information, or serving him with a summons
to be arraigned on criminal charges. However, as it relates to [LSP],
Plaintiff’s [rights] are violated while he remains under imminent possibility
of arrest according to Louisiana law.” Id. at 3.
4 After Plaintiff filed his Complaint, Defendant filed a motion to dismiss. See

Rec. Doc. 27. Plaintiff did not file any opposition to the motion but filed a
motion for leave to amend his Complaint. See Rec. Doc. 32. This Court granted
that motion for leave and dismissed Defendant’s motion to dismiss because
Defendant filed the instant motion to dismiss. See Rec. Doc. Nos. 33, 36.
                                             2
      Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 3 of 10



LAW AND ANALYSIS

       A. Motion to Dismiss Standard

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows

a party to move for dismissal of a complaint for failure to state

a claim upon which relief can be granted. To survive a motion to

dismiss under Rule 12(b)(6), a plaintiff’s complaint “must contain

‘enough facts to state a claim to relief that is plausible on its

face.’” Varela v. Gonzalez, 773 F.3d 704, 707 (5th Cir. 2014)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In

other words, a plaintiff’s “[f]actual allegations must be enough

to raise a right to relief above the speculative level.” Twombly,

550   U.S.   at    555.   “A   claim    has      facial   plausibility      when   the

plaintiff pleads factual content that allows the court to draw the

reasonable      inference      that    the       defendant    is   liable   for    the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing Twombly, 556 U.S. at 556).

       When deciding whether a plaintiff has met his or her burden,

a court “accept[s] all well-pleaded factual allegations as true

and interpret[s] the complaint in the light most favorable to the

plaintiff, but ‘[t]hreadbare recitals of the elements of a cause

of    action,     supported     by    mere       conclusory    statements’    cannot

establish       facial    plausibility.”           Snow   Ingredients,      Inc.    v.

SnoWizard, Inc., 833 F.3d 512, 520 (5th Cir. 2016) (quoting Iqbal,

556 U.S. at 678) (some internal citations and quotation marks


                                             3
    Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 4 of 10



omitted). Plaintiff must “nudge[] [his or her] claims across the

line from conceivable to plausible.” Twombly, 550 U.S. at 570.

     B. Defendant is a “Person” Within the Meaning of Section 1983

     Section 1983 makes certain “persons” liable for deprivation

of constitutional rights. See 42 U.S.C. 1983. Specifcally, in

relevant part, Section 1983 provides:

     Every person who, under color of any statute, ordinance,
     regulation, custom, or usage, of any State or Territory
     or the District of Columbia, subjects, or causes to be
     subjected, any citizen . . . to the deprivation of any
     rights, privileges, or immunities secured by the
     Constitution and laws, shall be liable to the party
     injured in an action at law, suit in equity, or other
     proper proceeding for redress[.]

To prove a claim under this section, a plaintiff must prove that

a “person”, acting under the color of law, deprived him or her of

rights, privileges, or immunities secured by the Constitutions and

laws of the United States. See Lumpkins v. Office of Cmty. Dev.,

621 Fed. Appx. 264, 268 (5th Cir. 2015).

     Historically, there was conflict surrounding the issue of

whether a state, or an official of a state while acting in his or

her official capacity, is a “person” within the meaning of Section

1983. See Will v. Mich. Dept. of State Police, 491 U.S. 58, 61-64

(1989)(referencing several holdings to illustrate the conflict).

Today, there is less conflict. In fact, as Defendant contends, it

is well established that neither a state nor its officials in their

official capacities are “persons” under Section 1983. See Will,

491 U.S. at 71. However, Defendant overlooks that a state official

                                     4
     Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 5 of 10



sued in his or her official capacity for injunctive relief is a

suable “person” under Section 1983. See id. at 71 n.10 (citing

Kentucky v.      Graham,         473   U.S.        159,   167   n.     14    (1985);     Ex    parte

Young, 209 U.S. 123, 159-160 (1908)).


      Defendant argues that Plaintiff alleges facts as it relates

to LSP, not him as Colonel Reeves. See Rec. Doc. 35-1; Rec. Doc.

45   at    2.   This   argument         fails       as    Plaintiff     is    expressly        suing

Colonel     Reeves     only      in    his    official      capacity        as   Superintendent

Colonel of LSP. See Will, 491 U.S. at 71 (“The Supreme Court [of

the United States] has held that a lawsuit against a state employee

in   his   [or   her]      official          capacity      is   equivalent       to     an    action

against the state itself.”); see also La. R.S. § 40:1301 (showing

that LSP is an arm of the state).

      Defendant argues in his Reply that Plaintiff cannot sue LSP

under Section 1983 because LSP is not a suable “person” within the

meaning of the section. See Rec. Doc. 45 at 1. This argument also

fails      because,        as    laid        out     clearly      in        Plaintiff’s        First

Supplemental         and        Amended        Complaint,        Plaintiff         is        seeking

injunctive relief.5 See Doe v. Caldwell, 913 F. Supp. 2d 262, 272

5 Specifically, Plaintiff requests that this Court (a) issue a temporary
restraining order and/or preliminary injunction barring the Defendants from
arresting Plaintiff for failure to pay sex offender registration notification
fees; (b) issue a temporary restraining order and/or preliminary injunction
requiring the recall of any already issued warrants related to Plaintiff’s
failure to pay sex offender registration notification fees; (c) issue a
permanent injunction barring the Defendants from arresting Plaintiff for failure
to pay sex offender registration notification fees; (d) issue a permanent
injunction requiring the recall of any already issued warrants related to
Plaintiff’s failure to pay sex offender registration notification fees; (e)
issue a declaratory judgment that the lack of a general fee waiver provision in
                                                5
    Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 6 of 10



(E.D. La. 2012) citing Will, 491 U.S. at 71 n.10. Therefore,

Defendant is a “person” under Section 1983.

      C. The Doctrine of Ex Parte Young Applies

      Now that we have established that Defendant is a “person” and

therefore can be sued under Section 1983, we will continue our

analysis to establish whether Plaintiff may maintain his claim

against Defendant by way of an exception.

      Specifically, the doctrine of Ex parte Young is a narrow

exception to the rule that official-capacity actions represent

actions against the state. See Mathia v. Bd. of Supervisors of La.

State Univ., 959 F. Supp. 2d 951, 957-58 (E. D. La. 2013) citing

to Will, 491 U.S. at 71 n.10 (quoting Kentucky v. Graham, 473 U.S.

159, 167 n. 14 (1985); Ex parte Young, 209 U.S. 123, 145-48

(1908)). 6 This exception “rest on the premise that when a federal



the Louisiana Sex Offender Registration law for indigent persons who have paid
some but not all fees is unconstitutional as applied to Mr. Robinson according
to the Fourth and Fourteenth Amendments to the United States Constitution; (f)
issue a judgment, pursuant to 28 U.S.C. §§ 2201-2202, declaring that the state
of Louisiana and its agencies cannot arrest indigent registrants who have made
bona fide efforts to comply with the sex offender statute; (g) award attorney
fees and costs to plaintiff in accordance with 42 U.S.C. § 1988 and 28 U.S.C.
§ 1920; (h) grant such other relief as the Court finds just and proper. See
Rec. Doc. 34 at 17-18.
6 In Blanchard v. Forrest, 1994 U.S. Dist. LEXIS 12697 *1, *7 (E.D. La. 1994)

this Court states:

            The Fifth Circuit has recently recognized the distinction
      between a suit against a state official for monetary damages and
      one for prospective relief in American Bank and Trust Co. of
      Opelousas v. Dent, 982 F.2d 917 (5th Cir. 1993). There the bank
      sued, seeking declaratory judgment that a Louisiana statute
      allegedly prohibiting the bank from selling insurance was
      unconstitutional and also seeking an injunction against any acts by
      the Louisiana Commissioner of Financial Institutions to enforce the
      allegedly unconstitutional statute. Id. at 918. The bank alleged
      that the statute denied the bank equal protection of the law
                                      6
     Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 7 of 10



court commands a state official to do nothing more than refrain

from violating federal law, [the official] is not the state . .

..” See Caldwell, 913 F. Supp. 2d at 272 citing to Virginia Office

for Protection and Advocacy v. Stewart, 131 S.Ct. 1632, 1637

(2011). 7

      To establish whether Plaintiff may maintain his claim under

the Ex parte Young exception “[this] Court need only conduct a

straightforward       inquiry       into        whether   [Plaintiff’s       First

Supplemental and Amended Complaint] alleges an ongoing violation

of   federal    law   and    seeks       relief    properly     characterized   as

prospective. See Mathia, 959 F. Supp. 2d at 957-58 citing to

Verizon Md., Inc. v. Pub. Serv. Comm’n of Md., 535 U.S. 635, 645

(2002). Furthermore, Plaintiff must show “some connection” between

the state      official     here   and    the     enforcement   of   the   disputed

unconstitutional state act. See Caldwell, 913 F. Supp. 2d at 272.

The state official must be acting, threatening to act, or at least



      pursuant to the Fourteenth Amendment and 42 U.S.C. § 1983. Id. at
      919.

            In overturning a dismissal for lack of subject matter
      jurisdiction, the Fifth Circuit stated: [Ex parte] Young
      established the principle that the Eleventh Amendment does not bar
      a Suit in federal court against a state official to enjoin his
      enforcement of a state law alleged to be unconstitutional. The
      Supreme Court, though it has clarified that Young cannot be extended
      to permit a Suit for equitable monetary restitution from the state
      treasury for a past breach of a legal duty, has reaffirmed the basic
      holding of Young as to purely prospective relief on numerous
      occasions. [Citations omitted.] Id. at 920.
7 See also Doe v. Caldwell, 913 F. Supp. 2d 262, 272 (E.D. La. 2012) citing to

K.P. v. LeBlanc, 627 F.3d 115, 124 (5th Cir. 2010)(Ex parte Young "is based on
the legal fiction that a sovereign state cannot act unconstitutionally[; t]hus,
where a state actor enforces an unconstitutional law, he is stripped of his
official clothing and becomes a private person subject to suit.”).
                                           7
    Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 8 of 10



have the ability to act to enforce the unconstitutional state act.

See Sonnier v. Crain, 649 F. Supp. 2d 484, 493 (E.D. La. 2009).

The state official must not have a general duty to see that the

laws of the state are implemented but a particular duty to enforce

the law in question. See Morris v. Livingston, 739 F.3d 740, 746

(5th Cir. 2014). This “some connection” requirement is designed to

prevent litigants from misusing the Ex parte Young exception. See

K.P. v. LeBlanc, 627 F.3d 115, 124 (5th Cir. 2010). It is important

to note that the “some connection” requirement is not a hard

requirement to meet. It is a threshold question. As the Fifth

Circuit has observed:

     Ex Parte Young gives some guidance about the required
     "connection" between a state actor and an allegedly
     unconstitutional act. "The fact that the state officer,
     by virtue of his office, has some connection with the
     enforcement of the act, is the important and material
     fact, and whether it arises out of the general law, or
     is specially created by the act itself, is not material
     so long as it exists." See LeBlanc, 627 F.3d at 124
     (quoting Ex parte Young, 209 U.S. at 157).

     Defendant   mainly    relies   on   three   cases   to    support    his

argument that Plaintiff fails to          meet   the   “some   connection”

requirement. See Rec. Doc. 45 4-8. In two of the three cases,

courts found that the “some connection” requirement is met. In

this case, this Court finds the same.




                                     8
      Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 9 of 10



       Plaintiff’s lawsuit satisfies the straightforward inquiry: he

alleges       ongoing      violations       of       Fourth      and      Fourteenth          Amendment

rights        and     seeks        prospective          relief         from      remaining          under

imminent possibility of arrest. See Caldwell, 913 F. Supp. 2d at

273.    Furthermore,         Plaintiff        shows        “some         connection”            between

Defendant           and       the         disputed          unconstitutional            arrest. La.

R.S. 15:540 requires sex offenders to register                                   with    state        law

enforcement         agencies.       La.    R.S.      15:552      explains LSP’s involvement

with    apprehension          of    sexual       offenders         and    persons       required       to

register. See Air Evac EMS, Inc. v. Tex., Dep’t of Ins., Div. of

Workers’ Comp., 851 F.3d 507, 515 (5th Cir. 2017)(finding that the

Ex    parte    Young       exception       applied      because        state      defendants         were

clearly    involved         in     the    challenged       scheme and         its      enforcement);

see    also    Sonnier,       649    F.    Supp.      2d    at     493 (finding that the Ex

parte Young exception applied to an assistant vice                                 president         that

was specifically listed in the applicable policy).

       This     is    not     a     case    against        a     governor        for    his    or     her

connection      to     a    disputed       unconstitutional              state    act.    See       e.g.,

King v. State ex rel. Jindal, 2013 U.S. Dist. LEXIS 148849 *1, *6

(E.D. La. 2013)(dismissing the governor as a party but not the

attorney general). This is a case against a Colonel Superintendent of

LSP for his connection to the state police’s power to arrest




                                                 9
      Case 2:18-cv-04733-ILRL-JVM Document 56 Filed 03/20/19 Page 10 of 10



non-compliant sex offenders. See Morris v. Livingston, 739 F.3d

740    (5th   Cir.   2014)(dismissing       the   governor   as   a   party   and

substituting he executive director of the Texas Department of

Criminal Justice in his official capacity). Therefore, Defendant

remains part of this lawsuit because Plaintiff states a claim upon

which relief can be granted.

       New Orleans, Louisiana, this 19th day of March, 2019.




                                     ___________________________________
                                     SENIOR UNITED STATES DISTRICT JUDGE




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